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    IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

         MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION



UNITED STATES OF AMERICA         )
                                 )
    v.                           )     CRIMINAL ACTION NO.
                                 )     2:04cr185-T
ROBERT EARL DOWD                 )          (WO)


                                ORDER

    This criminal case is currently before the court on

defendant Robert Earl Dowd’s motion for a new trial and

motion for leave to file a motion for a new trial.               At the

heart    of   both   motions   is    Dowd’s   contention      that      the

reassignment of this case from the judge who presided at

trial to the undersigned for sentencing entitles Dowd to a

new trial.     For the reasons that follow, Dowd’s motion for

leave to file will be granted and his motion for a new trial

will be denied.



                           I. BACKGROUND

    On September 28, 2004, Dowd was indicted on multiple

counts arising from the robbery of a post office.              The case
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was initially assigned to the undersigned, who made several

preliminary rulings.      On January 28, 2005, the undersigned

severed Dowd’s case from that of a co-defendant.               On March

2, 2005, the undersigned denied Dowd’s motion for separate

trials   on   certain   counts.         Thereafter,    the    case      was

reassigned to a Senior District Judge, who presided at

trial.   The jury convicted Dowd on all counts that were

presented at trial.

    On   June   21,   2005,   the    case   was   reassigned     to     the

undersigned for sentencing.         At a recorded status conference

on June 23, 2005, Dowd objected to the reassignment of the

case and made an oral motion to reassign the case back to

the Senior District Judge; the undersigned denied Dowd’s

oral motion.    On July 21, 2005, Dowd filed a motion for a

new trial based upon the change of judge and a motion for

leave to file said motion outside of time.




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                II. MOTION TO FILE OUT OF TIME

    Dowd’s case was reassigned to the undersigned after the

deadline for post-trial motions had passed.            Thus, he could

not have sought a new trial on the basis of the reassignment

before the deadline passed.        Accordingly, Dowd’s motion for

leave to file will be granted, so that his motion for new

trial may be considered on the merits.



                   III. MOTION FOR NEW TRIAL

    Federal Rule of Criminal Procedure 25(b), which governs

reassignment of cases to a new judge after a verdict,

states,

          “(b) After a Verdict or Finding of Guilty.

               (1) In General. After a verdict or
               finding   of   guilty,   any   judge
               regularly sitting in or assigned to
               a court may complete the court’s
               duties if the judge who presided at
               trial cannot those duties because of
               absense, death, sickness, or other
               disability.

               (2) Granting a New Trial.         The
               successor judge may grant a new trial
               if satisfied that:


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                   (A) a judge other than the one who
                   presided at the trial cannot perform
                   the post-trial duties; or

                   (B) a new trial is necessary for some
                   other reason.”

It is undisputed that “[a] sentencing judge enjoys broad

discretion to determine whether he can perform sentencing

duties    in   a   case    he   did   not    try.”     United   States    v.

McGuiness, 769 F.2d 695 (11th Cir. 1985).

    Dowd first claims that the reassignment is improper

under Rule 25(b).          Dowd apparently bases this argument on

the order denying Dowd’s oral motion for reassignment of the

case.     The order stated the Senior District Judge “has

orally informed the undersigned that he does not want the

case back.”        One of the circumstances described in Rule

25(b) is absence.         Contrary to Dowd’s assertion, the ability

of the undersigned to communicate with the Senior District

Judge is not evidence that the Senior District Judge is not

absent.    The Senior District Judge, who is 84 years old, has

been away from the courthouse all summer and is, in fact,

absent.        (Furthermore,      the       Senior   District   Judge    has


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informed the undersigned that, when he returns, he still

refuses to take the case back.)

    Dowd also contends that the undersigned would abuse his

discretion by imposing sentence without the benefit of a new

trial because he is unfamiliar with the case.                In United

States v. Carraza, the Eleventh Circuit Court of Appeals

held that a sentencing judge who did not try the case and

had not read the record did not abuse his discretion by

imposing sentence because he “was quite familiar with the

trial.”    843 F.2d 432 (11th Cir. 1988).               The judge in

Carraza had “ruled on numerous pretrial motions while the

case was pending before him” and had discussed the case with

the presiding judge.      Id.

    In United States v. McGuiness, the Eleventh Circuit

vacated the defendant’s sentence because the trial judge was

unfamiliar with the case and had done nothing to familiarize

himself with the transcript.           769 F.2d at 696.      The court

did “not exclude the possibility that in other circumstances

a case may be simple enough that the sentencing judge can



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learn    enough   about    it   at    the     sentencing       proceeding     to

properly impose sentence.”            Id. at 696.           The court went on

to contrast the hypothetical “simple case” with the case

before it, which had lasted more than a week and involved

more than 40 government witnesses and 50 exhibits, including

lengthy tape-recorded conversations.                  Id.

       Thus, in the Eleventh Circuit, a judge may sentence a

defendant whose trial the judge did not observe, if the

judge is familiar with the case.               A judge who has read the

transcript will generally be familiar enough with the case

to be competent to impose sentence.               Moreover, a judge who

ruled on pretrial matters may be familiar enough with the

case    to   impose   sentence       without     reviewing       the    record.

Finally,     in   simple   cases,         a   judge    need    not     read   the

transcript to be competent to impose sentence.

       Dowd’s trial lasted two days and involved fewer than 10

government witnesses and limited physical evidence.                       It is

much simpler than the case in McGuiness.                       Moreover, the

undersigned has now read the trial                    transcripts and the



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transcripts     of    all    later   proceedings    before   the   Senior

District Judge.       The undersigned, therefore, is competent to

sentence Dowd.

       Dowd finally argues that the Senior District Judge is

more competent to sentence him because he was able to judge

the demeanor and credibility of witnesses at trial and at

the initial sentencing hearings.            The Senior District Judge

is   certainly       familiar   with     this   case.      However,       the

appropriate inquiry under Rule 25(b) is not which judge is

most    competent,     but    whether    the    undersigned,    who   will

actually impose sentence, is competent.



                             III. CONCLUSION

       For the reasons outlined above, it is ORDERED that

defendant Robert Earl Dowd’s motion for leave to file a

motion for a new trial (Doc. No. 189) is granted and his

motion for a new trial (Doc. No. 188) is denied.

       DONE, this the 1st day of September, 2005.

                                        _____________________________
                                          /s/ Myron H. Thompson
                                         UNITED STATES DISTRICT JUDGE
